UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------X         Chapter 13
IN RE:                                                            Case No. 18-23900-SHL

SHLOME BRAUN,


                                      Debtor.
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                                       ORDER DISMISSING CASE

        UPON the motion, dated March 14, 2019 of Krista M. Preuss, Chapter 13 trustee, (the
“Trustee”) seeking entry of an order dismissing this Chapter 13 case pursuant to 11 U.S.C. §
1307(c); and due notice of the motion having been given to all necessary parties; and upon the
record of the hearing held by the Court on the motion on May 29, 2019 and all of the proceedings
herein; and
        WHEREAS, the Debtor failed to commence making Chapter 13 plan payments to the
Trustee, as required by 11 U.S.C. §1326(a)(1); and
        WHEREAS, the Debtor failed to file copies of payment advices or other evidence of
payment received from any employer within the last 60 days before the filing of the petition as
required by 11 U.S.C. § 521(a)(1)(B)(iv); and
        WHEREAS, the Debtor failed to comply with 11 U.S.C. § 521(e)(2)(A)(i) in that the
Debtor has not provided the Trustee with a copy of a Federal income tax return or transcript for
the most recent year 7 days before the first meeting of creditors; and
        WHEREAS, each of the foregoing constitutes cause for dismissal of this Chapter 13 case;
it is accordingly
        ORDERED, that this Chapter 13 case be dismissed pursuant to 11 U.S.C. § 1307(c). The
Trustee shall take all actions required by such dismissal.
Dated: White Plains, New York
       July 30, 2019


                                                            /s/ Sean H. Lane______________
                                                            Honorable Sean H. Lane
                                                            United States Bankruptcy Judge
